IN THECIRCUIT COURT OF CO()K COUNTY, ILLINOIS
COUNTY DEPARTMENT - LAW I)IVISI()N

JIM PEARSON

CASE#
Plaintiff,

`V.

VILLAGE OF BROADVIEW, MAYOR SHER}AAN
C. JONESj BUILDING COMMISIONER, DAVID
UPSHAW, AND THE VILLAGE BOARD OF
TRUSTEES COLLECTIVELY AS AGENTS

“-_.¢F“~_J“-_»JM_¢'”“~_H“~_-F“-.¢"-_J‘-_f`~_f\w““~_f

Defendants.

TO: DELGADO LAW GROUP
1441 S. HARLEM AVENUE
BERWYN, IL 60402

NOTICE OF FILING

PLEASE TAKE NOTICE that on January 10, 2018, Plaintift` Jirn Pearson, by and through their
attorney Don ]“:?’erry,,1 caused to be Hled, Plaintiff’s 2'"' Amended Complaint, a copy of Which is
hereby served upon you.

CERTIF;_(_:ATE 0F sERvICE

The undersigned, an attorney, certifies that he caused this document to be served upon the
parties listed above as indicated, by sending via HAND DELIVERY on the day of filing, a true
and correct copy to the address listed above.

 

 

 

Don Perry
Don Perry
Attorney at Lavv
1200 Ravinia Place
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(708) 675-7119
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Attorney # 4?744

 

 

 

 

 

 

 

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - LAW I)IVISION

JIM PEARSON

CASE#
I:'laintiff,J

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C. JONES, BUILDING COMMISIONER, DAVID
UPSHAW,, AND THE VILLAGE BOARD OF
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`*-#’“~_F*_J“-J“-rd“wf`*-_JM.,JR_JH_JM_»"M..H

Defendants.

PLAINTIFF’S ZND AMENDED COMPLAINT

 

 

NOW COMES the Plaintiff Jirn Pearson (Plaintiff) by and through his attorney Don Perry,
and complains against Defendants_, VILLAGE OF BROADVIEW, MAYOR SHERMAN C.
JONES, BUILDING COMMISIONER DAVID UPSHAW, AND THE VILLAGE BOARD OF

TRUSTEES COLLECTIVELY AS AGENTS, (Defendants) and states as follows

INTRODUCTION

l. This is an action against the Defendants, sounding in a Constitutional violation of
Proeedural Due Process,, and Abnse of Governrnentai Povver. This action arises out of the
Defendants refusal to grant the Plaintiff a hearing regarding the renewal of his 6B Tax
Classifrcation regarding his property located at 2601 S. 25th Avenueij Broadview IL, 60155., This
refusal was based upon the rejection of an attempted bribe solicited by the Defendants in exchange
for the granting of said renewal Further, as a direct result of this solicitation,, a contract for the

purchase of the Plaintiff’s property Was rescinded., vvhich has caused actual injury and damages to

the Plaintiff.

_PARTIES AND JURI_§__DICTION

 

 

2. Plaintiff, J im Pearson (Plaintiff) by and through counsel Don Perry:, brings this action.

3. Defendants Sherman C. Jones:, David Upshavv, and the Village of Broadvievv Board of
Trustees,, (Defendants) acting as agents of the Village of Broadvievv.

4. At all times relevant hereto, Defendants Sherman C. Jones,, David Upshavv, and the Village
of Broadview Board of Trustees were located in the County of Cool<, in the State of lllinois.

_Q__E_NERAL ALLEGATIoNs

 

5. On or about January 14:, 2005, the Plainti:Tpurchased commercial property located at 2601

S. 25111 Avenue, Broadvievv lL, 60155.

 

6. Subsequent to said purchase, on or about April 14._, 2005, the Plaintiff` submitted his 63
eligibility application to the Cook County Assessor’s Office, Which vvas approved

(See Exhibit A)

7. Subsequent to said approval by the Cook County Assessor‘s Office, on or about June 20,If
2005,, the Village of Broadview, Mayor Henry Vicenik, and the Village Board of Trustees, passed
a resolution approving the Plaintift` s 6B status (See Exhibit B)

8. On or about April 31, 2014,, the Plaintiff submitted his 613 renewal application to The Cook

County Assessor’s Office. (See Exhibit C)

 

9. On or about Septernber 19, 2014, the Plaintif;i`sent a letter to then Mayor Sherrnan C. Jones,
and the Village Board of Trustees notifying them that said renewal application had been filed vvith
the Cook Cou:nty Assessor"'s Oftiee, and its acceptance vvas contingent upon a resolution being
granted by the Village supporting same,J and requested that the matter be considered by the Village

Board at its earliest convenience (See EXhibit D)

10. The Defendant“s refused to consider the Plaintiff` s request,, stating that they no longer

approved any 613 resolutions Hoivever, the Village subsequently solicited a $50,000.00 payoff

from the Plaintiff s prospective buyer, stating that r‘“a $50,000.00 campaign donation vvould make

the process go much smoother.”

11. Plaintiff’ s prospective buyer refused,, and rescinded their contract offer Whereby causing

the Plaintiff to lose hundreds of thousands of dollars.

COUNT I - CONSTITUTIONAL VIOLATION OF PROCEDURAL DUE PROCESS

 

12. The Plaintiff re alleges and specifically incorporates by reference herein Paragraphs 1

through 11 of this Compliant as this Paragraph 11, as if fully stated herein.

13. The Plaintiff alleges that on June 20, 2005, upon the Village of Broar_ivievvr passing the
resolution granting the Plaintist application for 6B tax status, the Village of Broadvievv',
substantially changed the commercial value of the PlaintifP s property, regarding any potential Sale
of the property.

14. The Plaintiff alleges that upon receipt of his letter dated September 19,, 2014, requesting a
resolution hearing regarding the renewal of his 613 status,, the Defendants had a duty to provide

and hold a Board meeting to consider his renewal application, as the renewal or denial, vvould have

 

a direct impact on the value of the Plainti;if’s property.

15. Plaintiff alleges that the Defendant, not providing the Plaintiff vvith a hearing regarding his
request for the renevval of his property’s 6B ta:>rL status, violated his Constitutional right to
Procedural Due l:’rocess,J as the granting,,r or denial, of said renevval directly impacted the value of

the Plaintiff’ s property.

 

16. Plainti:i`f alleges that based upon the Plaintiff` s denial of his Constitutional Procedural Due

Process, a Letter of lntent to purchase the Plaintist property for $2,,750,,000.00 was withdrawall

(See Exhibit E)

17. The Plaintiff lost a potential buyer for his property at a sale price of $2,750,,000.00, and
subsequently sold the property to a different buyer for $2,350,000.00 Furtherg this took place

approximately two years later, after the Defendants passed a 6B resolution in the buyer

GRAYMILLS CORPORATIONS name on February 25, 2016, prior to the closing of the sale of

the property? The Defendants conduct resulted in documented actual damages of $400,,000.00 to

the Plaintiff.
(See EXhibits F 1 & FZ)

WHEREFORE, Plaintiff prays that this Court grant Judgment to the l-"laintiff11 and find the
Defendants liable for his actual damages of $400:,000.,00:, and any and all Court Costs, and Attorney

Fees, and any further relief this Court deems just.

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13. The Plaintiff re alleges and specifically incorporates by reference herein Paragraphs 1

through 18 of this Cornpliant as this Paragraph 19,, as if fully stated herein.

19. Plaintiff alleges, that as stated above,,1 upon receipt of his letter dated September 19 2014,
that the Defendants refused to grant him a hearing with the Village Board regarding a resolution

for the renewal of his 6B s‘.;atus.

 

20. Plaintiff further alleges_.lt that the Defendants told him the Village of Broadview would no

longer be issuing 6B resolutions to anyone.

 

21. Plaintiff alleges, that the prospective buyer of his property paid a visit to the Village of
Broadview’s Municipal Offices to inquire about the status of the Plaintiff` s renewal, on or about

September of 2014,, and was told by Building Commissioner David Upshaw, that a “$50,000.00

campaign contribution would make the process go much smoother.”

22. Plaintiff alleges, that after the prospective buyer was told this by the Building

Cornrnissioner, they withdrew their letter of intent.

23. Plaintiff alleges_., that on or about February 10, 2016, he received a signed Purchase & Sale

Agreement from Graymills Corporation. (See Exhibit Fi)

24. Plaintiff alleges, that a short time after he received the above mentioned Purchase & Sale
rf'lgreement,f he discovered that on February 16, 2016, the Defendants had approved a 613 resolution
for Graymills Corporation, even though they were not yet the owner of the property at the time the

resolution was passed

251 Plaintiff alleges,l that upon this discovery he sent a letter of inquiry and a FOIA request to

the Defendants regarding this discovery (See Exhibit G)

26. Plaintiff alleges, that on or about March 3, 2016, he received a hand delivered response to

his FOIA request. Among the documents tendered regarding the Plaintist FOIA request,, was
Graymills Corporation’s purported 6B renewal application to the Cook County Assessor’s Office.
Notably, said application was undated, unsigned, and was not stamped as being received by the

Assessor"`s Office. Also included was the resolution approval for Graymills Corporation dated

February 25,, 2016. (See Exhibits H & F2)

 

 

 

27. Plaintiff alleges, that;, l) the Defendants denied the Plaintiff his Procedural Due Process
regarding a hearing, 2) that the Defendants intentionally did so, 3) That the Defendants did so

based upon the prospective buyers refusal to pay an alleged solicited bribe for the issuance of a 613
renewal, 4) That the Defendants abused their Governmental Power by soliciting the alleged bribe,

and 5) that the Plaintiff has suffered actual damages of $400,000.00.
WHEREFORE:, rlainarr pays ray the following relies

1. That the Court find the Defendants liable for Abuse of Governmental Power.
2. That the Court award the Plaintiff actual Darnages of $400,000.00.

3. That the Court award the Plaintiff Punitive Darnages of $400:,000.00, and any and all

further relief this Court deems just.

  

 

Don Perry Respectful ed
Attorney at Law § -~“”” ` ' "

1200 Ravinia Place Q\_ n getting
Orland li'arl<,,1 lL 60462 Don Perry in

(703) 675-2119
Attorney # 477-44

 

 

CERTIFICATION

As attorney for the Plaintiff,, in the above-captioned matter, l hereby certify that l have

read the foregoing pleading and have complied with Supreme Court Rule 13?.

 

 

 

Don Perry

Attorney at Law

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